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                    UNITED STATES DISTRICT COURT
                          DISTRICT OF IDAHO
                U.S. MAGISTRATE JUDGE MINUTE ENTRY

(X) Video Initial Appearance on a Rule 5- Complaint
(X) Video Preliminary Exam: Waived


MAGISTRATE JUDGE: Candy W. Dale                              DATE: February 12, 2021
DEPUTY CLERK/ESR: Sunny Trumbull                             TIME: 4:28 – 4:49 p.m.

               UNITED STATES OF AMERICA vs. MICHAEL POPE
                    District of Idaho case #2:21-mj-420-CWD
                    District of Columbia case #1:21-mj-217



Counsel for: United States (AUSA): Traci Whelan
             Defendant: Michael Palmer, retained counsel
             USPO: Emma Wilkins

(X) Defendant waived personal appearance for today’s proceeding.
(X) Defendant appeared in custody on Warrant/Complaint from the District of Columbia.
(X) Court reviewed the Complaint. Defendant waived reading of the Complaint.
(X) Court provided initial appearance advising of all constitutional rights to counsel the charging
document and Rule 5 proceedings.
(X) Defendant waived an identity hearing and preliminary examination.
(X) The Government is not seeking detention. The parties agreed on release conditions.
(X) The Court reviewed release conditions.

(X) Court entered Order Setting Conditions of Release.
